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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

DIANNE R. HENSLEY, Individually and as             )        C/A No.: 2:15-cv-02087-DCN
Personal Representative of the Estate of Frederick )
Z. Hensley, Deceased,                              )     Navy Machinist Mate; Mesothelioma
                                                   )
              Plaintiffs,                          )    STIPULATION OF DISMISSAL AS
                                                   )      TO DEFENDANT GARDNER
       v.                                          )           DENVER, INC.
                                                   )
3M COMPANY, et al.,                                )
                                                   )
                                                   )
              Defendants.                          )

       The Plaintiff Dianne R. Hensley, Individually and as Personal Representative of the

Estate of Frederick Z. Hensley and Defendant Gardner Denver, Inc., by and through their

undersigned attorneys, stipulate to the dismissal without prejudice of Gardner Denver, Inc.,

pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure.

TURNER PADGET GRAHAM & LANEY                      MOTLEY RICE, LLC
P.A.


/s Thomas M. Kennaday                             /s W. Christopher Swett
By: Steven W. Ouzts, Esquire                      By: W. Christopher Swett, Esquire
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ATTORNEYS FOR GARDNER DENVER, INC.                ATTORNEY FOR PLAINTIFFS
April 6, 2016                                     April 6, 2016
